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                      5   Attorneys for Defendant,
                          DUNCAN D. HUNTER
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                      8                           UNITED STATES DISTRICT COURT
                      9                        SOUTHERN DISTRICT OF CALIFORNIA
                 10 UNITED STATES OF AMERICA,                      CASE NO. 18-CR-3677-W
                 11                             Plaintiff,         NOTICE OF MOTION AND MOTION
                 12 v.                                             TO DISMISS OR, IN THE
                                                                   ALTERNATIVE, TO RECUSE THE
                 13 DUNCAN D. HUNTER,                              UNITED STATES ATTORNEY’S
                                                                   OFFICE FOR THE SOUTHERN
                 14                             Defendant.         DISTRICT OF CALIFORNIA
                 15                                                DATE:      March 17, 2020
                                                                   TIME:      9:00 AM
                 16                                                COURT:     3C (Schwartz)
                                                                   JUDGE:     HON. THOMAS J. WHALEN
                 17
                 18       TO: ALL PARTIES AND THEIR COUNSEL OF RECORD:
                 19                   PLEASE TAKE NOTICE THAT on March 17, 2020 at 9:00 a.m. or as soon
                 20       thereafter as the matter may be heard, in the Courtroom of the Honorable Thomas
                 21       J. Whelan, United States District Court Judge, Courtroom 3C, located at 221 West
                 22       Broadway, San Diego, California, 92101, Defendant Duncan D. Hunter hereby
                 23       moves the Court to Dismiss the Indictment, or, in the Alternative to Recuse the
                 24       United States Attorney’s Office for the Southern District of California from further
                 25       proceedings in this matter.
                 26       ///
                 27       ///
                 28       ///
H IGGS F LE TCHER &
    M ACK LLP             9531848.1                                                       CASE NO. 18-CR-3677-W
 ATTO RNEY S AT LAW
     SAN DIEGO
                      Case 3:18-cr-03677-W Document 126 Filed 03/03/20 PageID.965 Page 2 of 2



                      1          This Motion is based on the instant Notice, Motion, and Memorandum of
                      2   Points and Authorities submitted herewith, the pleadings and other matters on file
                      3   in this case, and on such other and further argument and evidence as may be
                      4   presented to the Court at the hearing of this matter.
                      5   DATED: March 3, 2020                       HIGGS FLETCHER & MACK LLP
                      6
                      7                                              By: /s/ Paul J. Pfingst
                                                                           PAUL J. PFINGST, ESQ.
                      8                                                    Attorneys for Defendant
                                                                           DUNCAN D. HUNTER
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H IGGS F LE TCHER &       9531848.1                                 2                     CASE NO. 18-CR-3677-W
    M ACK LLP
 ATTO RNEY S AT LAW
     SAN DIEGO
                                      DEFENDANTS MOTION TO DISMISS OR RECUSE U.S. ATTORNEY’S OFFICE
